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                   EXHIBIT 3
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Message
From:        Brandon Fleener [bfleener@APTMetrics.com]
Sent:        9/25/2015 5:22:47 PM
To:          Renee.Coates@faa.gov; abe.castillo@faa.gov; John C Scott [/o=ExchangeLabs/ou=Exchange Administrative Group
             (FYDIBOHF23SPDLT)/cn=Recipients/cn=f232cd0de52b47ccb3a98c90847463c7-JScott@appl]
CC:          Lamont.Virgil@faa.gov; Christina.Kominoth@faa.gov; Matthew.Amato@faa.gov
Subject:     RE: RNO Report Follow-up
Attachments: image001.jpg


Hi everyone,

Just a quick fyi. We have sent a report to legal to review and approve which includes the revised RNO analysis for the
Experienced track referrals.

Thank you!

Brandon


From: Brandon Fleener
Sent: Tuesday, September 22, 2015 7:09 PM
To: 'Renee.Coates@faa.gov'; abe.castillo@faa.gov; John C. Scott
Cc: Lamont.Virgil@faa.gov; Christina.Kominoth@faa.gov; Matthew.Amato@faa.gov
Subject: RE: RNO Report Follow-up

Hi Renee,

Per legal's instructions on transmitting files of this nature, I have sent a draft deck to Jerry and Humberto which displays
analyses regarding the 2015 Gen Pub announcement. This deck does not contain all of the analyses requested to date as
we still need 2015 Experienced track data and En Route versus Terminal assignments. However, it does contain most of
the basic information requested for the Gen Pub announcement including the corrected Hispanic/ Latino Counts so I
thought I would share.

Jerry and/or Humberto should send you the deck when they have reviewed it.

Thank you!


Brandon Fleener, Ph.D.
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Global Strategies for Talent Management.




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From: Renee.Coates@faa.gov [maiIto:Renee.Coates@faa.gov]
Sent: Tuesday, September 22, 2015 7:39 AM
To: Brandon Fleener; abe.castillo@faa.gov
Cc: Lamont.Virgil@faa.gov; Christina.Kominoth@faa.gov; Matthew.Amato@faa.gov
Subject: RE: RNO Report Follow-up

Hey Brandon,

The short answer is yes. We need the reproduction of 2015 analysis for both tracks. In addition to information in the
interim process brief, we also need to expand education level of applicant pool beyond CTI.

Thanks



From: Brandon Fleener [maiIto:bfleener@APTMetrics.com]
Sent: Monday, September 21, 2015 5:11 PM
To: Coates, Renee (FAA); Castillo, Abe (FAA)
Cc: Virgil, Lamont (FAA); Kominoth, Christina (FAA); Amato, Matthew (FAA)
Subject: RE: RNO Report Follow-up

Hi Renee,

Just to confirm, the first set of analyses you need are a reproduction of the 2015 analyses like those attached from 2014
correct?

Thanks!

Brandon

From: Renee.Coates@faa.gov [maiIto:Renee.Coates@faa.gov]
Sent: Monday, September 21, 2015 2:52 PM
To: abe.castillo@faa.gov; Brandon Fleener
Cc: Lamont.Virgil@faa.gov; Christina.Kominoth@faa.gov; Matthew.Amato@faa.gov
Subject: RE: RNO Report Follow-up

OK. Do we have an idea when the analysis will be complete? I'd like to give Rickie a projected timeline.

From: Castillo, Abe (FAA)
Sent: Monday, September 21, 2015 1:42 PM
To: Coates, Renee (FAA); Brandon Fleener (bfleener@APTMetrics.com)




                                                                                                              FAA_00073949
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Cc: Virgil, Lamont (FAA); Kominoth, Christina (FAA); Amato, Matthew (FAA)
Subject: RE: RNO Report Follow-up



Renee,

Per Rickie's direction, I forwarded the three RNO reports [Family question, T2 referred applicants, Ti by option] to
Ms. Mallory and Ms. Wilkerson on 9/15.

I received the raw data on the T1-15 applicants from AIT this morning (9/21). 1 will review for completeness
and either further refine or forward to APT by COB today. I have been working one-on-one with Brandon to
ensure that he has the information necessary for the AHR-sponsored statistical analysis.




Abe Castillo
Aviation Careers Branch, AHF-C420
405-954-6373

From: Coates, Renee (FAA)
Sent: Monday, September 21, 2015 12:16 PM
To: Castillo, Abe (FAA); Brandon Fleener (bfleener@APTMetrics.com)
Cc: Virgil, Lamont (FAA); Kominoth, Christina (FAA); Amato, Matthew (FAA)
Subject: RNO Report Follow-up

Abe/Brandon,

I'm following-up for a status of revised RNO/PWD reports discussed in our last meeting with Rickie, AGC and ACR. We're
hoping to start socializing the brief during first week in Oct.

Thanks,
Renee




                                                                                                           FAA_00073950
